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                         EAJA Rates
                          EXHIBIT 7
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                            EAJA Rates Adjusted for Cost of Living*  1:13-cv-000734-RBW

Year                Rate
               2013 $                     187.02
               2014 $                     190.06
               2015 $                     190.28
               2016 $                     192.68
               2017 $                     196.79




* Attorney rates standard throughout the calendar year, regardless of years of experience. Source:
https://www.ca9.uscourts.gov/content/view.php?pk_id=0000000039
